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                          UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF SOUTH CAROLINA

IN RE:                                    )
                                          )       Case No. 22-03389-EG
MURDEN CONSTRUCTION, LLC                  )       Chapter 7
                                          )
                                          )       CONSENT ORDER FOR 2004
                             Debtor(s).   )       EXAMINATION
                                          )


         IT IS ORDERED that, Andrew Quinton Murden submit to examination of the affairs of

Murden Construction, LLC pursuant to Bankruptcy Rule 2004 at the office of the Chapter 7

Trustee, Kevin Campbell, located at 890 Johnnie Dodds Boulevard, Mount Pleasant, SC 29464,

on the 17th day of February , 2023 at     10:00   o'clock A .M.



               AND IT IS SO ORDERED.
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WE CONSENT:

 /s/ Richard W. Steadman, Jr.
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 /s/ Kevin Campbell, Ch 7 Trustee
Kevin Campbell, Chapter 7 Trustee 0030
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